






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,154




EX PARTE GUY VAL QUAM, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 114-1821-05-A IN THE 114TH DISTRICT COURT
FROM SMITH COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault and sentenced to life imprisonment.  The Twelfth Court of Appeals affirmed his conviction.
Quam v. State, No. 12-06-186-CR (Tex. App. - Tyler, delivered April 25, 2007, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his appellate counsel rendered ineffective assistance because counsel
failed to timely notify Applicant that his conviction had been affirmed.  We remanded this
application to the trial court for findings of fact and conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellate counsel testified that she mailed notice to Applicant that his appeal had been
affirmed, but that he did not timely receive the notice because his address within the Texas
Department of Criminal Justice, Criminal Institutions Division, was changed.  The trial court has
entered findings of fact and conclusions of law that Applicant did not receive timely notice that his
conviction had been affirmed.  The trial court recommends that relief be granted.  Ex parte Riley,
193 S.W.3d 900 (Tex. Crim. App. 2007).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition
for discretionary review of the judgment of the Twelfth Court of Appeals in Cause No. 12-06-186-CR that affirmed his conviction in Case No. 114-1821-05 from the 114th Judicial District Court of
Smith County.  Applicant shall file his petition for discretionary review with the Twelfth Court of
Appeals within 30 days of the date on which this Court’s mandate issues.
&nbsp;
Delivered: May 20, 2009
Do not publish


